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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

LENEXA REAL ESTATE PORTFOLIO              )
PARTNERS, LLC,                            )
                                          )
                  Third Party Plaintiff,  )
                                          )                          CIVIL ACTION
v.                                        )
                                          )                          No. 19-2100-KHV
SNOWMEN 365, LLC,                         )
                                          )
                  Third Party Defendant.  )
__________________________________________)

                                             ORDER

          On April 2, 2021, the Court was informed by email that the parties have resolved this

matter.

          IT IS THEREFORE ORDERED that the Clerk administratively terminate this action

without prejudice to the rights of the parties to reopen the proceedings for good cause shown, for

the entry of any stipulation or order, or for any other purpose required to obtain a final

determination of the litigation. On or before April 8, 2021, the parties shall file a stipulation of

dismissal signed by the parties above who have appeared in the action, under Rule 41(a)(1) of the

Federal Rules of Civil Procedure. If no such stipulation is received within the specified time and

the parties have not moved to reopen the case for the purpose of obtaining a final determination,

this order shall constitute, for purposes of Rule 58 of the Federal Rules of Civil Procedure, entry

of final judgment and dismissal with prejudice of the third party plaintiff’s claims under

Rule 41(a)(2).




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IT IS SO ORDERED.

Dated this 2nd day of April, 2021 at Kansas City, Kansas.

                                    s/ Kathryn H. Vratil
                                    KATHRYN H. VRATIL
                                    United States District Judge




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